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                           UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF CONNECTICUT
                                  NEW HAVEN DIVISION


 IN RE:                                             )       CHAPTER 7
                                                    )
 ACE BEGONIAS INC.,                                 )       CASE NO. 19-31430 (AMN)
                                                    )
                   DEBTOR.                          )
                                                    )
                                                    )
 BONNIE C. MANGAN, Chapter 7 Trustee for            )
 ACE BEGONIAS INC.                                  )
                                                    )
          Plaintiff,                                )
                                                    )
              v.                                    )        Adv. Pro. No. 21-03005
                                                    )
 BETHANY FARM & NURSERY, LLC,                       )
                                                    )
          Defendants.                               )
                                                    )


                        TRUSTEE’S STATEMENT OF NO OBJECTION

       Bonnie C. Mangan, Chapter 7 Trustee (the "Trustee") of Ace Begonias Inc. (the

"Debtor"), by and through her undersigned counsel, hereby states that she has no objection to the

Motion for Summary Judgment filed by defendant, Bethany Farm & Nursery, LLC (the

“Defendant”), on June 24, 2022 (the “Motion for Summary Judgment”).

       The Trustee commenced this action based largely on the November 13, 2015 appraisal of

the subject real and personal property prepared by Bruce F. Wiley, MAI (the “Wiley Appraisal”).

The Wiley Appraisal concluded that, as of November 13, 2015, the as-is value of the subject real

property was $250,000 and that the value of the “Greenhouses and Equipment” on that property
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was $950,000 – for a total value of $1,200,000. A copy of the Wiley Apprasial is attached hereto

as Exhibit A.

       Additionally, the Trustee was in possession of a December 18, 2018 apprasial conducted

by Anthony J. Napolitano, MAI, RM (the “Napolitano Appraisal”). The Napolitano Appraisal

concluded that the value of the subject real property had increased to $285,000 as of December

13, 2018. The Napolitano Appraisal did not attribute a value to the Greenhouses and Equipment.

       On July 19, 2019, less than two months before the Debtor filed a voluntary petition for

bankruptcy, the Debtor transferred the subject real and personal property to the Defendant in

exchange for $600,000.

       The Trustee’s counsel has reviewed various documents of the Debtor, interviewed former

employees of the Debtor, has interviewed both Mr. Wiley and Mr. Napolitano, and has spoken to

potential expert witnesses. During Mr. Wiley’s interview, he indicated to Trustee’s counsel that

he did not feel that he was qualified to opine on the value of the Greenhouses and Equipment and

that his area of expertise was very much limited to valuation of solar installations. After further

questioning, Trustee’s counsel was left with the impression that the Wiley Apprasial’s value of

the Greenhouses and Equipment was not based on a level of knowledge and due diligence that

Trustee’s counsel normally would expect to see from an expert opining on the value of assets.

       The Trustee’s counsel has also reviewed the materials submitted in support of the Motion

for Summary Judgment. Where possible, counsel has verified the information contained in those

materials. The information contained in the Motion for Summary Judgment is consistent with

statements made by the Debtor’s former employees, the Debtor’s records, and Mr. Napolitano.

When the Trustee’s counsel interviewed Mr. Napolitano, he stated that the Napolitano Apprasial

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did not attribute any value to the Greenhouses and Equipment because such items were in so

poor condition that he did not feel comfortable attributing a value to them. As such, he only

appraised the land itself.

       Based on the forgoing, the Trustee and her counsel believe that objecting to the Motion

for Summary Judgment would not be appropriate at this time and that it is in the best interest of

the Estate not to expend its limited resources to retain an expert witness and further prosecute

this matter.


                                                      BONNIE C. MANGAN,
                                                      CHAPTER 7 TRUSTEE OF
                                                      ACE BEGONIAS INC.

                                                  By: /s/ David C. Shufrin
                                                      David C. Shufrin, Esq. [ct29230]
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on the date set forth below a copy of the foregoing was served by

CMECF and/or mail on anyone unable to accept electronic filing. Notice of this filing will be

sent by email to all parties by operation of the Court’s electronic filing system or by mail to

anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties

may access this filing through the Court’s CM/ECF System.

Date: July 15, 2022

                                              ___/s/ David C. Shufrin_________________
                                              David C. Shufrin




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